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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND


                        MEMORANDUM OPINION AND ORDER


           Pending is the defendants’ joint motion to declare the

Federal Death Penalty Act (“FDPA”) unconstitutional, to dismiss

the “special findings” from the third superseding indictment, to

strike the notice of intent to seek the death penalty, in whole

or in part, and to order discovery and/or to conduct an

evidentiary hearing, filed September 18, 2006.



                                      I.



           On August 16, 2006, the government filed notices of

intent to seek the death penalty relating to each defendant

respecting Counts Eleven and Twelve of the third superseding

indictment.    The counts allege separately (1) murder with a

firearm, during and in relation to a cocaine conspiracy, causing

the death of Carla Collins, in violation of 18 U.S.C. §§

924(c)(1)(A), 924(j)(1), and (2) killing a person for aiding a
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federal investigation, in violation of 18 U.S.C. §§ 1121(a)(2)

and 2.


           The joint motion lodges a number of challenges to the

defendants’ continued prosecution under the FDPA.             Each

contention is addressed within.



                                    II.



A.   The Constitutionality of the FDPA



           Defendants initially contend the FDPA is

unconstitutional for a variety of reasons.           First, they assert

the federal death penalty is so rarely sought and imposed that it

necessarily operates in a fundamentally arbitrary and capricious

manner.   The argument is based primarily upon the separate

opinions in Furman v. Georgia, 408 U.S. 238 (1972).              (Memo. in

Supp. at 1) (“Under an analysis that was persuasive to the

Supreme Court in Furman, the federal death penalty is sought and

imposed in a shockingly arbitrary, capricious and ’unusual’

manner.”).    As noted in the government’s response, defendants’

argument has been rejected previously by several courts.

Additionally, no court has invalidated the FDPA based upon the

argument offered by defendants.        The court rejects the argument.


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           Defendants next contend that “[t]he dead can never be

exonerated” and that the appreciable risks of executing the

innocent by use of the FDPA requires a finding that it is

unconstitutional.      Defendants rely primarily upon United States

v. Quinones, 205 F. Supp.2d 256 (S.D.N.Y. 2002).              Defendants

candidly concede the United States Court of Appeals for the

Second Circuit reversed the cited decision in United States v.

Quinones, 313 F.3d 49, 69 (2nd Cir. 2002), an appellate opinion

that observed as follows:

     Despite suggestions by the District Court and the
     defendants that they are embracing a novel challenge to
     the constitutionality of capital punishment, the idea
     that a convicted person has a right to the continued
     opportunity for exoneration during the course of his
     natural life is not new: Because this proposition has
     been presented to the Supreme Court on a number of
     occasions and repeatedly rejected by the Court, we hold
     that the continued opportunity to exonerate oneself
     throughout the natural course of one's life is not a
     right “so rooted in the traditions and conscience of
     our people as to be ranked as fundamental.”

Id. at 62.    The facial appeal of the argument is certainly of

some moment.    At the same time, it is one that has met with

virtually no success over the years from a jurisprudential

standpoint.    As noted by the government, the lower court decision

in Quinones “has been rejected by every other court to have

considered it.”      (Resp. at 9-10).     Inasmuch as the available

authorities have rather uniformly taken a position contrary to



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that offered by the defendants, the court, while recognizing that

a risk such as that suggested by the defendants may be said to

exist, is likewise constrained to reject the argument.


           Next, defendants contend that the absence of any

principled basis for distinguishing between cases in which the

federal death penalty is imposed from cases in which it is not

necessarily renders the FDPA unconstitutional.            The argument

includes pages of synopses from cases with reprehensible conduct

that in some instances resulted in a death finding and in others

a lesser sentence.      What is absent from the argument is any case

law specifically adopting the defendants’ view.             Absent such

authority, the court is unwilling to strike down an Act of

Congress that has consistently withstood various constitutional

challenges.    See, e.g., United States v. Fulks, 454 F.3d 410, 438

(4th Cir. 2006) (“For these reasons, the evidentiary standard of

the FDPA withstands constitutional scrutiny.”).


           Defendants next contend the FDPA does not satisfy the

requirements of Ring v. Arizona, 536 U.S. 584 (2002).              In sum,

defendants contend the weighing process using aggravating and

mitigating factors at the penalty selection stage is the

functional equivalent of an element and that death selection must

thus come to pass only if the aggravating factors outweigh

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mitigating factors beyond a reasonable doubt.            Defendants concede

that other courts have taken a different approach, including the

United States Court of Appeals for the Eighth Circuit in United

States v. Purkey, 428 F.3d 738, 750 (8th Cir. 2006) (stating “it

makes no sense to speak of the weighing process mandated by 18

U.S.C. § 3593(e) as an elemental fact for which a grand jury must

find probable cause.”).


             As the government correctly points out, the product of

the weighing process is not a finding of fact, unlike a

defendant’s mental state at the time of the crime or the presence

of at least one statutory aggravating factor.            (Resp. at 23)

(“[t]he comparative weight of the aggravating and mitigating

factors, and whether they justify a death sentence, has no

independent existence outside the minds of the juror in the

deliberation room.      As such, the weighing process describes a

‘consideration’ and not a “fact.”).         Based upon this contention

and the analysis in Purkey, the court rejects defendants’

argument.1


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      Defendants also contend the FDPA is unconstitutional
inasmuch as it is applied disproportionately to those accused of
killing white and female victims. In the alternative, defendants
request discovery and an evidentiary hearing to develop and
examine statistical data. The defendants’ argument is foreclosed
by, inter alia, McCleskey v. Kemp, 481 U.S. 279 (1987) and United
States v. Armstrong, 517 U.S. 456, 483 (1996).

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B.   Dismissal on Other Grounds



           Defendants next challenge some portions of the charging

instrument and related documents on various grounds.              The first

ground alleged is that the grand jury was not given the choice of

whether or not to hold the defendants answerable for a capital

crime because it was unaware of the consequences of the Notice of

Special Findings contained within the third superseding

indictment.    In sum, defendants contend as follows:

          In this case, the government presented to the
     grand jury two of the three elements necessary to make
     the Defendants "death-eligible" for Eighth Amendment
     purposes -- the intent requirements under 18 U.S.C. §
     3591(a)(2) and the alleged statutory aggravating
     factors under 18 U.S.C. § 3592(c). On information and
     belief, however, the government did not inform the
     grand jury of the consequences of those special
     findings, i.e., that by returning the indictment, the
     Defendants would be held to answer to an offense
     punishable by death.

(Memo. in Supp. at 26).


           As noted by the government, the Supreme Court has made

clear that the Indictment Clause of the Fifth Amendment does not

require the government to inform the grand jury of the potential

penalties that might attach as a result of any special findings.

One district court recently confronted with the identical




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argument cogently observed as follows:

     Defendant . . . cites no authority in support of this
     assertion and the Court has found none. Indeed . . .
     Defendant . . . attempts to extend the meaning of the
     Indictment Clause beyond its Constitutional limits. The
     grand jury's role is not to decide whether probable
     cause supports the imposition of a particular sentence
     against a charged individual; rather, the grand jury
     check on prosecutorial power stems from its independent
     factual determination of the existence of probable
     cause for the essential elements of the charged
     offense. See Branzburg, 408 U.S. at 686-87, 92 S.Ct.
     2646; Stirone, 361 U.S. at 217-19, 80 S.Ct. 270;
     Matthews, 246 F. Supp.2d 137, 146-47 (“Grand juries do
     not make findings or recommendations concerning
     punishment or sentencing and such considerations should
     not influence their decision. It is for the petit jury
     to make that determination.”) (citations omitted);
     Regan, 221 F.Supp.2d at 680; see generally
     Fed.R.Crim.P. 7(a), (c) (“An offense which may be
     punished by death shall be prosecuted by indictment . .
     . . The indictment . . . shall be a plain, concise and
     definite written statement of the essential facts
     constituting the offense charged.”) (emphasis added).

United States v. Haynes, 269 F. Supp.2d 970, 981 (W.D. Tenn.

2003).   Based upon this analysis, the court rejects defendants’

argument.


            Second, defendants contend the government did not

obtain a charging instrument alleging all elements of a capital

offense because it failed to seek a grand jury decision

concerning whether the aggravating factors outweighed the

mitigating factors so as to justify the ultimate sanction.                The

argument is foreclosed in this circuit:


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     Because only one statutory aggravating factor is
     required under the Act to render a defendant
     death-eligible, we hold that the indictment need only
     allege one such aggravating factor. See United States
     v. Jackson, 327 F.3d 273, 287 (4th Cir. 2003)
     (Niemeyer, J., concurring) (“[W]hen the death penalty
     is dependent on a finding of an aggravated offense,
     then the core statutory elements of that offense, as
     well as at least one aggravating factor, must be
     charged in the indictment and found by the jury.”).
     There is no requirement that the indictment allege all
     of the factors that might be weighed by the jury when
     deciding whether to impose a death sentence. So long as
     one statutory aggravating factor is alleged in the
     indictment and the petit jury finds that statutory
     aggravating factor to exist, the indictment is not
     defective as to the capital offense charged. See id.
     The elements of the offense of conviction have been
     charged in the indictment, submitted to the jury, and
     proven beyond a reasonable doubt.

United States v. Higgs, 353 F.3d 281, 299 (4th Cir. 2003).                Were

the rule otherwise, one ponders how the government might, without

the defendants’ input, fully present to the grand jury the

mitigating factors that might apply to them.            The court,

accordingly, rejects the contention.


           Defendants next seek dismissal based upon a putative

lack of notice under the Constitution and 18 U.S.C. § 3593(a).

In a related argument, defendants request a penalty-related bill

of particulars.      The February 9, 2007, memorandum opinion

addressed this matter and directed the government to submit to

the defendants an outline summarizing the information it intends

to use to establish the factors set forth in the notices.               The

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government has complied.       The court, accordingly, deems the

notice argument to be moot.


           Defendants next contend the government has improperly

alleged that they committed the offenses with four separate

mental states.       Defendants assert the allegations should be

stricken because a person cannot simultaneously possess four

different mental states.       Specifically, defendants observe (1)

the allegations are illogical, and (2) permitting the jury to

consider the allegations will impermissibly skew the weighing

process toward death selection.         Although the defendants concede

the mental states found in 18 U.S.C. § 3591(a)(2) are not

aggravating factors that are actually weighed, they surmise

     a jury will likely treat findings on the mental state
     factors as aggravation related to the circumstances of
     the offense when weighing the aggravating and
     mitigating factors to determine the appropriate
     sentence. The presence of more than one factor will
     therefore arbitrarily skew the sentencing process in
     favor of death.

(Memo. in Supp. at 35).


           The argument is not well taken in view of our court of

appeals precedent.       United States v. Jackson, 327 F.3d 273, 300

(4th Cir. 2003) (“Jackson next contends that the district court

erred in allowing the jury to find and consider all four intent

factors when any one of them alone was sufficient to support

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imposition of the death penalty and that this alleged error

unconstitutionally tipped the scales in favor of a death

sentence. . . . The findings regarding intent . . . play no role

in the weighing process, which is done when the jury considers

aggravating and mitigating circumstances. . . . [T]he intent

under 18 U.S.C. § 3591 operates only as a threshold to reach the

aggravating factors.”).       Inasmuch as Jackson forecloses

defendants’ argument, the court rejects the contention.


            Defendants next request that the statutory aggravating

factors be dismissed.      They contend that the factors do not

adequately channel the sentencer’s discretion by (1) narrowing

the category of convicted defendants eligible to receive the

death penalty, and (2) minimizing the risk of arbitrary and

capricious action.      See Kansas v. Marsh, 126 S. Ct. 2516, 2524

(2006) (“Together, our decisions in Furman v. Georgia, 408 U.S.

238, 92 S. Ct. 2726, 33 L. Ed.2d 346 (1972) (per curiam), and

Gregg v. Georgia, 428 U.S. 153, 96 S. Ct. 2909, 49 L.Ed.2d 859

(1976) (joint opinion of Stewart, Powell, and STEVENS, JJ.),

establish that a state capital sentencing system must: (1)

rationally narrow the class of death-eligible defendants; and (2)

permit a jury to render a reasoned, individualized sentencing

determination based on a death-eligible defendant's record,

personal characteristics, and the circumstances of his crime.”).


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            Defendants specifically challenge the aggravating

factors alleging (1) the victim was killed after substantial

planning and premeditation to cause her death, and (2) the acts

were committed in a heinous, cruel or depraved manner in that

torture or serious physical abuse were involved.             As noted by the

government, each of the challenged factors has been upheld within

the context of the FDPA and the existing case law otherwise runs

contrary to defendants’ argument in toto.            (Resp. at 37-42).      The

court thus rejects the defendants’ contention.


            Defendants next request that the non-statutory

aggravating factors alleged by the government be stricken.

Specifically, defendants assert that (1) the victim impact non-

statutory aggravating factor is not sufficiently aggravating and

does not sufficiently narrow the class of killers for whom the

death penalty is available, and (2) the victim impact and

obstruction of justice non-statutory aggravating factors

essentially duplicate the underlying capital offense of witness

killing.


            Regarding the first challenge, the argument runs

counter to the existing authorities which have rejected similar

challenges to the same non-statutory aggravator.             See, e.g.,


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Higgs, 353 F.3d at 320-21.          The existing authorities also counsel

in favor of rejecting defendants’ second challenge.               See Jones v.

United States, 527 U.S. 373, 401 (1999) (plurality); Higgs, 353

F.3d at 315 (noting “the Eighth Amendment does not prohibit the

use of an aggravating factor during the sentencing phase that

duplicates one or more elements of the offense of the crime found

at the guilt phase.”) (citing Lowenfield v. Phelps, 484 U.S. 231,

246 (1988)); United States v. Chanthadara,             230 F.3d 1237, 1273

(10th Cir. 2000); United States v. Llera Plaza,              179 F. Supp.2d

464, 490 (E.D. Pa. 2001) (“Based on Payne[ v. Tennessee, 501 U.S.

808, 827 (1991)], federal courts have routinely allowed the use

of victim impact evidence in FDPA proceedings.”).2



                                      III.



            Based upon the foregoing discussion, the court ORDERS

that the defendants’ joint motion to declare the FDPA

unconstitutional, to dismiss the “special findings” from the



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      Defendants also contend that inasmuch as the United States
Attorney for this district initially chose not to pursue the
ultimate sanction, the government must be precluded from now
seeking that penalty here. No court has sustained the argument.
See United States v. Cooper, 91 F. Supp.2d 90, 104 n.8 (D.D.C.
2000) (district court rejecting the argument without discussion
within a 27 page opinion).

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third superseding indictment, to strike the notice of intent to

seek the death penalty, in whole or in part, and to order

discovery and/or to conduct an evidentiary hearing be, and it

hereby is, denied.



            The Clerk is directed to forward copies of this written

opinion and order to all counsel of record.


                                           DATED:    April 5, 2007



                                           John T. Copenhaver, Jr.
                                           United States District Judge




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